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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                      Case No.: 0:16-cv-61733

 SYMBOLOGY INNOVATIONS, LLC,

        Plaintiff

 v.

 NEXTERA ENERGY, INC.,

        Defendant.

                     COMPLAINT AND DEMAND FOR JURY TRIAL
                         (INJUNCTIVE RELIEF DEMANDED)

        Plaintiff Symbology Innovations, LLC (“Plaintiff” or “Symbology”) files this

 Complaint against NextEra Energy, Inc. (“Defendant” or “NextEra”) for infringement of

 United States Patents No. 8,424,752, No. 8,651,369, and No. 8,936,190 (hereinafter “the ‘752

 Patent,” “the ‘369 Patent,” and “the ‘190 Patent”).

                          PARTIES, JURISDICTION AND VENUE

        1.      This is an action for patent infringement under Title 35 of the United States

 Code. Plaintiff is seeking injunctive relief as well as damages.

        2.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal

 Question) and 1338(a) (Patents) because this is a civil action for patent infringement arising

 under the United States patent statutes.

        3.      Plaintiff is a Texas limited liability company with its principal office located at

 1400 Preston Road, Suite 400, Plano, Texas 75093.

        4.      On information and belief, Defendant is a Florida corporation with its principal

 place of business at 700 Universe Blvd., Juno Beach, FL, 33408.



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         5.      This Court has personal jurisdiction over Defendant because Defendant has

 committed, and continues to commit, acts of infringement in the state of Florida, has conducted

 business in the state of Florida, and/or has engaged in continuous and systematic activities in

 the state of Florida.

         6.      Upon information and belief, Defendant’s instrumentalities that are alleged

 herein to infringe were and continue to be used, imported, offered for sale, and/or sold in the

 Southern District of Florida.

         7.      Venue is proper in the Southern District of Florida pursuant to 28 U.S.C. §§

 1391(c) and 1400(b) because Defendant is deemed to reside in this District. In addition, and in

 the alternative, Defendant has committed acts of infringement in this District.

                                    COUNT I
               (INFRINGEMENT OF UNITED STATES PATENT NO. 8,424,752)

         8.      Plaintiff incorporates paragraphs 1 through 7 herein by reference.

         9.      This cause of action arises under the patent laws of the United States and, in

 particular, under 35 U.S.C. §§ 271, et seq.

         10.     Plaintiff is the owner by assignment of the ‘752 Patent with sole rights to

 enforce the ‘752 Patent and sue infringers.

         11.     A copy of the ‘752 Patent, titled “System and Method for Presenting

 Information about an Object on a Portable Electronic Device,” is attached hereto as Exhibit A.

         12.     The ‘752 Patent is valid, enforceable, and was duly issued in full compliance

 with Title 35 of the United States Code.

         13.     On information and belief, Defendant has infringed and continues to infringe

 one or more claims, including at least Claim 1, of the ‘752 Patent by using and/or incorporating


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 Quick Response Codes (QR codes) in advertising media in a manner covered by one or more

 claims of the ‘752 Patent. Defendant has infringed and continues to infringe the ‘752 Patent in

 violation of 35 U.S.C. § 271.

        14.     On information and belief, Defendant has, at least through internal testing, used

 or incorporated QR codes in advertising media, associating such QR codes with products

 and/or services. One specific example of Defendant’s activity involves the use of QR codes in

 Internet advertisements for area improvements to the electric system (“Service”).

        15.     For example, on information and belief, Defendant has at least internally tested

 the functionality of its QR codes in connection with the Internet advertising of its Service. On

 information and belief, Defendant has captured a digital image of a QR code associated with

 such advertising, an example of which is shown below and may be viewed at:

 http://www.nexteraenergy.com/pdf/profile.pdf




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         16.      On information and belief, Defendant’s advertisement informs users that they

 can scan the QR through their smartphone to obtain information relating to the Service. On

 information and belief, at least through internal testing, Defendant has used a digital image

 capturing device of a portable electronic device, such as the camera component of a smart

 phone for example, to capture a digital image of the QR code associated with the advertisement

 its Service.

         17.      On information and belief, Defendant’s capture of the digital image is processed

 by scanning technology loaded onto the portable electronic device. The scanning technology

 detects symbology (for example, a pattern within the QR code) associated with an object (for

 example, the QR code itself). On information and belief the scanning technology is used to

 decode the symbology to obtain a decode string. The decode string is sent to a remote server

 for further processing. Based on the decode string, the remote server sends information

 associated with the QR code, which is received by the user of the portable electronic device

 and displayed on a display associated with the portable electronic device.

         18.      For example, if a user scans a QR code associated with the advertising of the

 Service, scanning technology decodes the pattern of the QR code to obtain a decode string and

 sends the decode string to a remote server. The server returns information associated with the

 QR code. In this example, the information received by the user and displayed on the portable

 electronic device is additional information about the Service as illustrated below:




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        19.     Defendant’s actions complained of herein will continue unless Defendant is

 enjoined by this court.

        20.     Defendant’s actions complained of herein are causing irreparable harm and

 monetary damage to Plaintiff and will continue to do so unless and until Defendant is enjoined

 and restrained by this Court.

        21.     Plaintiff is in compliance with 35 U.S.C. § 287.
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                                  COUNT II
              (INFRINGEMENT OF UNITED STATES PATENT NO. 8,651,369)

        22.     Plaintiff incorporates paragraphs 1 through 7 herein by reference.

        23.     This cause of action arises under the patent laws of the United States and, in

 particular, under 35 U.S.C. §§ 271, et seq.

        24.     Plaintiff is the owner by assignment of the ‘369 Patent with sole rights to

 enforce the ‘369 Patent and sue infringers.

        25.     A copy of the ‘369 Patent, titled “System and Method for Presenting

 Information about an Object on a Portable Electronic Device,” is attached hereto as Exhibit B.

        26.     The ‘369 Patent is valid, enforceable, and was duly issued in full compliance

 with Title 35 of the United States Code.

        27.     On information and belief, Defendant has infringed and continues to infringe

 one or more claims, including at least Claim 1, of the ‘369 Patent by using and/or incorporating

 Quick Response Codes (QR codes) in advertising media in a manner covered by one or more

 claims of the ‘369 Patent. Defendant has infringed and continues to infringe the ‘369 Patent in

 violation of 35 U.S.C. § 271.

        28.     On information and belief, Defendant has, at least through internal testing, used

 or incorporated QR codes in advertising media, associating such QR codes with products

 and/or services. One specific example of Defendant’s activity involves the use of QR codes in

 Internet advertisements for area improvements to the electric system (“Service”).

        29.     For example, on information and belief, Defendant has at least internally tested

 the functionality of its QR codes in connection with the Internet advertising of its Service. On

 information and belief, Defendant has captured a digital image of a QR code associated with


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 such advertising, an example of which is shown below and may be viewed at:

 http://www.nexteraenergy.com/pdf/profile.pdf




         30.      On information and belief, Defendant’s advertisement informs users that they

 can scan the QR through their smartphone to obtain information relating to the Service. On

 information and belief, at least through internal testing, Defendant has used a digital image

 capturing device of a portable electronic device, such as the camera component of a smart

 phone for example, to capture a digital image of the QR code associated with the advertisement

 its Service.

         31.      On information and belief, Defendant’s capture of the digital image is processed

 by scanning technology loaded onto the portable electronic device. The scanning technology

 detects symbology (for example, a pattern within the QR code) associated with an object (for

 example, the QR code itself). On information and belief the scanning technology is used to

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 decode the symbology to obtain a decode string. The decode string is sent to a remote server

 for further processing. Based on the decode string, the remote server sends information

 associated with the QR code, which is received by the user of the portable electronic device

 and displayed on a display associated with the portable electronic device.

        32.     For example, if a user scans a QR code associated with the advertising of the

 Service, scanning technology decodes the pattern of the QR code to obtain a decode string and

 sends the decode string to a remote server. The server returns information associated with the

 QR code. In this example, the information received by the user and displayed on the portable

 electronic device is additional information about the Service as illustrated below:




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        33.     Defendant’s actions complained of herein will continue unless Defendant is

 enjoined by this court.

        34.     Defendant’s actions complained of herein are causing irreparable harm and

 monetary damage to Plaintiff and will continue to do so unless and until Defendant is enjoined

 and restrained by this Court.

        35.     Plaintiff is in compliance with 35 U.S.C. § 287.
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                                   COUNT III
               (INFRINGEMENT OF UNITED STATES PATENT NO. 8,936,190)

         36.     Plaintiff incorporates paragraphs 1 through 7 herein by reference.

         37.     This cause of action arises under the patent laws of the United States and, in

  particular, under 35 U.S.C. §§ 271, et seq.

         38.     Plaintiff is the owner by assignment of the ‘190 Patent with sole rights to

  enforce the ‘190 patent and sue infringers.

         39.     A copy of the ‘190 Patent, titled “System and Method for Presenting

  Information about an Object on a Portable Electronic Device,” is attached hereto as Exhibit C.

         40.     The ‘190 Patent is valid, enforceable, and was duly issued in full compliance

  with Title 35 of the United States Code.

         41.     On information and belief, Defendant has infringed and continues to infringe

  one or more claims, including at least Claim 1, of the ‘190 Patent by using and/or incorporating

  Quick Response Codes (QR codes) in advertising media in a manner covered by one or more

  claims of the ‘190 Patent. Defendant has infringed and continues to infringe the ‘190 Patent in

  violation of 35 U.S.C. § 271.

         42.     On information and belief, Defendant has, at least through internal testing, used

  or incorporated QR codes in advertising media, associating such QR codes with products

  and/or services. One specific example of Defendant’s activity involves the use of QR codes in

  Internet advertisements for area improvements to the electric system (“Service”).

         43.     For example, on information and belief, Defendant has at least internally tested

  the functionality of its QR codes in connection with the Internet advertising of its Service. On

  information and belief, Defendant has captured a digital image of a QR code associated with


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  such advertising, an example of which is shown below and may be viewed at:

  http://www.nexteraenergy.com/pdf/profile.pdf




          44.      On information and belief, Defendant’s advertisement informs users that they

  can scan the QR through their smartphone to obtain information relating to the Service. On

  information and belief, at least through internal testing, Defendant has used a digital image

  capturing device of a portable electronic device, such as the camera component of a smart

  phone for example, to capture a digital image of the QR code associated with the advertisement

  its Service.

          45.      On information and belief, Defendant’s capture of the digital image is processed

  by scanning technology loaded onto the portable electronic device. The scanning technology

  detects symbology (for example, a pattern within the QR code) associated with an object (for

  example, the QR code itself). On information and belief the scanning technology is used to

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  decode the symbology to obtain a decode string. The decode string is sent to a remote server

  for further processing. Based on the decode string, the remote server sends information

  associated with the QR code, which is received by the user of the portable electronic device

  and displayed on a display associated with the portable electronic device.

         46.     For example, if a user scans a QR code associated with the advertising of the

  Service, scanning technology decodes the pattern of the QR code to obtain a decode string and

  sends the decode string to a remote server. The server returns information associated with the

  QR code. In this example, the information received by the user and displayed on the portable

  electronic device is additional information about the Service as illustrated below:




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         47.     Defendant’s actions complained of herein will continue unless Defendant is

  enjoined by this court.

         48.     Defendant’s actions complained of herein are causing irreparable harm and

  monetary damage to Plaintiff and will continue to do so unless and until Defendant is enjoined

  and restrained by this Court.

         49.     Plaintiff is in compliance with 35 U.S.C. § 287.
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                                       PRAYER FOR RELIEF

            WHEREFORE, Plaintiff asks the Court to:

            (a)     Enter judgment for Plaintiff on this Complaint on all causes of action asserted

  herein;

            (b)     Enter an Order enjoining Defendant, its agents, officers, servants, employees,

  attorneys, and all persons in active concert or participation with Defendant who receive notice

  of the order from further infringement of United States Patents No. 8,424,752, No. 8,651,369,

  and No. 8,936,190 (or, in the alternative, awarding Plaintiff running royalties from the time of

  judgment going forward);

            (c)     Award Plaintiff damages resulting from Defendant’s infringement in

  accordance with 35 U.S.C. § 284;

            (d)     Award Plaintiff pre-judgment and post-judgment interest and costs; and

            (e)     Award Plaintiff such further relief to which the Court finds Plaintiff entitled

  under law or equity.




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                                  DEMAND FOR JURY TRIAL
          Plaintiff demands a trial by jury for all claims so triable.

  Dated: July 20, 2016                          Respectfully submitted,

                                                  /s/ Joel B. Rothman
                                                JOEL B. ROTHMAN
                                                Florida Bar Number 98220
                                                Joel.rothman@sriplaw.com
                                                JEROLD I. SCHNEIDER
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